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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


KALOMA CARDWELL,

                          Plaintiff,

             v.
                                                          19 Civ. 10256 (GHW)
DAVIS POLK & WARDWELL LLP, THOMAS
REID, JOHN BICK, WILLIAM CHUDD, SOPHIA
HUDSON, HAROLD BIRNBAUM, DANIEL
BRASS, BRIAN WOLFE, and JOHN BUTLER,

                          Defendants.




                  DEFENDANTS’ APPLICATION FOR FEES AND COSTS




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                               Attorneys for Defendants


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               Pursuant to this Court’s January 15, 2021 order (ECF 129), defendants respectfully

submit this application for attorneys’ fees and costs incurred as a result of the failure by plaintiff

and his counsel to comply with their discovery obligations.

               At the January 13, 2021 court conference, the Court cited Rule 37’s specification

that the Court “must” “require the party,” the “attorney,” “or both to pay the movant’s reasonable

expenses incurred in making the motion, including attorney’s fees.” January 13, 2021 Tr. (“Tr.”)

at 42. The Court directed defendants to make an “application for fees in connection with th[eir]

motion to compel” responses to their interrogatories, production of responsive materials, and

service of particularized responses and objections to their requests for production. Id. The Court

noted that plaintiff’s “last discovery deficiency yielded a very constrained request by counsel for

defendants, which was very generous,” and underscored Rule 37’s goal of “discourag[ing]

unnecessary motion practice by charging a losing party with the cost of litigating the dispute.” Id.

               The “‘starting point’” for determining “‘reasonable fee[s] is the number of hours

reasonably expended on the litigation’” or issue “‘multiplied by a reasonable hourly rate.’” Arbor

Hill Concerned Citizens Neighborhood Ass’n v. County of Albany, 522 F.3d 182, 186 (2d Cir.

2007) (quoting Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)). A “reasonable hourly rate,” in

turn, is “the rate a paying client would be willing to pay,” taking into account, “among others,”

(i) “the time and labor required,” (ii) “the amount involved in the case and the results obtained,”

and (iii) “the experience, reputation, and ability of the attorneys.” Arbor Hill, 522 F.3d at 190,

186 n. 3 (listing factors). Courts in the Second Circuit look to “‘prevailing market rates in the

relevant community’”—here, the Southern District, Pichardo v. C.R. Bard, 2015 WL 13784565,

at *4, 5 (S.D.N.Y. Jan. 26, 2015) (quoting Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551

(2010))—for “‘similar services by lawyers of reasonably comparable skill, experience, and




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reputation.’” Restivo v. Hessemann, 846 F.3d 547, 590 (2d Cir. 2017) (quoting Gierlinger v.

Gleason, 160 F.3d 858, 882 (2d Cir. 1998)). The fact that a client was “actually charged” for the

time requested to be reimbursed is an indicator of reasonableness. Pichardo, 2015 WL 13784565,

at *6.

                 Following the November 2020 court conference in connection with defendants’

discovery disputes with plaintiff, defendants incurred significant costs associated with the briefing

of their motion to compel, including legal research, analysis, drafting, and filing of a motion to

compel and a reply brief. See Declaration of Susanna Buergel. Taking into consideration only

those fees associated with the motion to compel itself, from the November and December 2020

time frame, the senior partners who took the lead in addressing plaintiff’s discovery failures (Bruce

Birenboim and Susanna Buergel), together with the associates who assisted and a paralegal,

collectively spent more than 120 hours on these efforts ($99,565.20 in fees). Buergel Decl. at 3

(itemizing fees). Defendants also incurred certain non-fee costs “associated with the briefing” and

“negotiations” described above, including filing and research database costs. Id.

                 The case law supports reimbursement of all fees and costs reasonably incurred in

connection with the failure of plaintiff and plaintiff’s counsel to comply with their discovery

obligations in this matter.        Courts regularly award substantial fees in connection with such

noncompliance, and no circumstances render an award of reasonable fees unjust here. See, e.g.,

Martinez v. City of New York , 330 F.R.D. 60 (E.D.N.Y. 2019) (awarding $134,610.00 in fees, plus

costs, under Rule 37).1


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    See also, e.g., Rahman v. The Smith & Wollensky Rest. Grp., Inc., No. 06-CV-6198, 2009 WL 72441 (S.D.N.Y.
    Jan. 7, 2009) (awarding $80,230.44); City of Almaty, Kazakhstan v. Ablyazov, No. 15-CV-05345, 2020 WL
    5440553, at *3 (S.D.N.Y. Sept. 10, 2020) (awarding $60,228.27 in fees, plus costs; fact that the defense firm’s
    regular rates were already subject to a 10% discount was “strong evidence that the rates requested are
    reasonable”); 246 Sears Rd. Corp. v. Exxon Mobil Corp., No. 09-CV-889, 2013 WL 4506973, at *8 (E.D.N.Y.
    Aug. 22, 2013) (adopting report and recommendation) (awarding $66,403.98, and finding that “[g]iven the vigor
    with which plaintiff has pursued this litigation, and the absence of evidence in the record concerning the financial


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                Defendants respectfully request that the Court award reasonable fees associated

with the motion here, in an amount consistent with the goals of Rule 37.



Dated: January 20, 2021
       New York, New York

                                       Respectfully Submitted,

                                       PAUL, WEISS, RIFKIND, WHARTON
                                        & GARRISON LLP


                                       By: /s/ Bruce Birenboim
                                           Bruce Birenboim
                                           Susanna M. Buergel
                                           Jeh C. Johnson
                                           Marissa C.M. Doran

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   resources of plaintiff and its two principals, I am not convinced that a fee award would be unjust”); Jindan Wu v.
   Seoul Garden, Inc., No. 16-CV-03613, 2018 WL 507315 at *13 (E.D.N.Y. Jan. 22, 2018) (rejecting argument
   that attorney could be excused from his sanctionable negligent discovery conduct because he was a solo
   practitioner, calling this a “meek excuse[]”); cf. Shnyra v. State St. Bank & Tr. Co., No. 19-CV-2420, 2020 WL
   6892078, at *10, 12 (S.D.N.Y. Nov. 24, 2020) (Woods, J.) (noting the court “has wide discretion to apportion
   Rule 37 monetary sanctions between a party and its counsel” and finding them jointly and severally liable (internal
   quotation marks and citations omitted)).


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